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1
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7    Attorneys for Plaintiff
8    JOHN STOSSEL

9
10                                    UNITED STATES DISTRICT COURT
11
                                     NORTHERN DISTRICT OF CALIFORNIA
12
                                           SAN JOSE DIVISION
13
      JOHN STOSSEL, an individual,               Case Number: 5:21-cv-07385-VKD
14
15                      Plaintiff,
                                                 DECLARATION OF KRISTA L. BAUGHMAN
16                                               IN SUPPORT OF PLAINTIFF’S STATUS
      v.                                         REPORT RE: SERVICE
17
      META PLATFORMS, INC., a Delaware
18    corporation; SCIENCE FEEDBACK, a
      French non-profit organization; and
19    CLIMATE FEEDBACK, a French non-
20    profit organization,

21                      Defendants.
22
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     Declaration of Krista L. Baughman                           Case No. 5:21-cv-07385-VKD
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1           I, Krista L. Baughman, declare and state as follows:
2           1.      I am a partner at Dhillon Law Group Inc. and counsel for Plaintiff John Stossel
3    (“Plaintiff” or “Mr. Stossel). I am an attorney in good standing duly admitted to practice before all
4    Courts of the State of California. I am admitted to practice law in the states of New York and
5    California, and admitted before all state, federal and appeals courts in the state of California, and the
6    United States Court of Appeals for the Eleventh Circuit. Except as to those matters stated on
7    information and belief, I have personal knowledge of the matters set forth herein and if called as a
8    witness could and would competently testify thereto. As to those matters stated on information and
9    belief, I believe them to be true.
10          2.      An online search of France’s Trade and Companies Register, Infogreffe, indicates that
11   Defendant Science Feedback is listed with Infogreffe and maintains a business address in Paris.
12   Attached as Exhibit A is a true and correct copy of the information resulting from this search,
13   performed on September 22, 2021 (the Exhibit copy includes version in both French and English). A
14   similar search on the Infogreffe database performed for Climate Feedback yielded no results.
15          3.      When I performed a search on Wikipedia for “Science Feedback” in September, 2021,
16   prior to filing the Complaint, Wikipedia provided the following description: “Science Feedback is a
17   site founded in September 2018 as a French Association déclarée by Emmanuel Vincent to parent
18   several subsidiary FCWs, amongst which are Climate Feedback (CF) and Health Feedback (HF).” I
19   note that the current version of this Wikipedia page, accessed December 7, 2021, recites that the page
20   was edited on December 7, 2021 at 2:42 UTC, and now different language appears, but the page still
21   refers to Science Feedback as a parent of Climate Feedback.
22          4.      Attached as Exhibit B hereto is a true and correct copy of Science Feedback’s
23   homepage, available at https://sciencefeedback.co/, which I accessed on December 7, 2021.
24          5.      Attached as Exhibit C hereto is a true and correct copy of Climate Feedback’s
25   homepage, available at https://climatefeedback.org, which I accessed on December 7, 2021.
26
27
28                                                       2
      Declaration of Krista L. Baughman                                    Case No. 5:21-cv-07385-VKD
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1           6.      Attached as Exhibit D hereto is a true and correct copy of Science Feedback’s webpage
2    titled “Team members, advisors and contributors,” available at https://sciencefeedback.co/team-
3    advisors-contributors/, which I accessed on December 7, 2021.
4           7.      Attached as Exhibit E hereto is a true and correct copy of Climate Feedback’s
5    purported fact-check of Mr. Stossel’s reporting, available at
6    https://climatefeedback.org/claimreview/climate-change-forest-management-and-several-other-
7    causes-contribute-to-wildfire-severity-and-total-area-burned-in-the-western-united-
8    states/?fbclid=IwAR3s8qPmSScINCXh9fKFUfKxA1HRF-u07sFpp24fg9UOn8SdVTeQUHzEuGk,
9    which I accessed on December 7, 2021.
10          8.      Attached as Exhibit F hereto is a true and correct copy of Meta’s webpage captioned
11   “About Fact-Checking on Facebook,” available at
12   https://www.facebook.com/business/help/2593586717571940?id=673052479947730, which I
13   accessed on December 7, 2021.
14          9.      In September 2021, our firm engaged the help of a vendor experienced with effecting
15   service on foreign defendants through the Hague Service Convention. This vendor advised us that
16   such service ordinarily takes 4 to 5 months from submission of a request to proof of service, and
17   quoted our firm a total service price of $6,800, inclusive of the cost to translate into French the
18   multiple service documents required by this Court’s Local Rules for valid service of a summons.
19          10.     On October 9, 2021, through a legal vendor retained by our firm, our firm served legal
20   process in this action on Nicole Forrester in West Virginia. A true and correct copy of the Affidavit
21   of Service provided to our firm by our vendor is filed at ECF Dkt. 23.
22          I declare under penalty of perjury under the laws of the United States of America that the
23   foregoing is true and correct.
24          Dated: December 7, 2021
25
26                                                                /s/ Krista L. Baughman          _
                                                                  Krista L. Baughman
27
28                                                      3
      Declaration of Krista L. Baughman                                   Case No. 5:21-cv-07385-VKD
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                 EXHIBIT A
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     Company, director, registry, formalities, news, name, name + Zip Code, SIREN...


            Advanced search




           SCIENCE FEEDBACK                                                                                                                                  PERFORM A FORMALITY

             PARTAGER LE LIEN VERS CETTE FICHE ENTREPRISE                                                                                                      Select


           Not entered on the Trade and Companies Register
                                                                                                                                   BACK TO RESULTS                 NEW ADVANCED SEARCH




           COMPANY INFORMATION SCIENCE FEEDBACK                                                                                                                         VIEW OFFICIAL DOCUMENTS



               IDENTITY           OFFICE(S)


            COMPANY DESCRIPTION                                                                               OFFICE DESCRIPTION


            Entry on the SIRENE listing:                   09/2018                                            Entry on the SIRENE listing:           04/2020

            SIREN identifier:                              842 192 692                                        SIRET identifier:                      842 192 692 00031

            SIRET identifier of the registered office: 842 192 692 00031                                      Brand name:

            Legal category:                                Association déclarée                               Address:                               21 PLACE DE LA REPUBLIQUE
                                                                                                                                                     75003, PARIS 3
            Primary Activity Undertaken (APE):             Autres services d'information n.c.a.

                                                                                                              Primary Activity Undertaken (APE):     Autres services d'information n.c.a.




           OFFICIAL DOCUMENTS
           It is not possible to place an order for offices not entered on the Trade and Companies Register




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           Last update on 21/09/2021




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                                                                                                                                                                       networks
         infogreffe                                           Order a document                                   Who are we ?

         Infogreffe est le Groupement d'intérêt               Set a monitoring                                   News
         Economique (GIE) des greffes des
         tribunaux de commerce français.                      Companies per criteria                             FAQ
         Infogreffe est la plateforme de
         services en ligne destinée à                         Statistics                                         Find a court registry
         accompagner les entreprises et
         faciliter les moments-clés de leur                   Search for a case                                  Companies directory
         développement.
                                                              Certigreffe                                        Lexicon

                                                              Prepaid Card                                       Prices

                                                                                                                 Contact us

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   Infogreffe’s Partner Network : The National Council of Commercial Court Registrars - European Business Register - Agence France Entrepeneur - les-
                                                              aides.fr - Service-Public.fr




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                                                                                                                    Se Connecter                    FR | EN




                                               S'informer sur les entreprises                    Démarches en ligne              Tribunal Digital         Autres services                  Datainfogreffe




     Entreprise, dirigeant, greffe, formalité, actualité, nom, nom + code postal, SIREN...


           Recherche avancée




           SCIENCE FEEDBACK                                                                                                                                EFFECTUER UNE FORMALITÉ

              PARTAGER LE LIEN VERS CETTE FICHE ENTREPRISE                                                                                                    Sélectionner


           Non Inscrit au Registre du Commerce et des Sociétés
                                                                                                                             RETOUR AUX RÉSULTATS             NOUVELLE RECHERCHE AVANCÉE




           INFORMATIONS SUR L'ENTREPRISE SCIENCE FEEDBACK                                                                                                       VOIR LES DOCUMENTS OFFICIELS



               IDENTITÉ           ÉTABLISSEMENT(S)


            DESCRIPTION DE L'ENTREPRISE                                                                    DESCRIPTION DE L'ÉTABLISSEMENT


            Inscription au répertoire SIRENE :            09/2018                                          Inscription au répertoire SIRENE :       04/2020

            Identifiant SIREN :                           842 192 692                                      Identifiant SIRET :                      842 192 692 00031

            Identifiant SIRET du siège :                  842 192 692 00031                                Enseigne :

            Catégorie juridique :                         Association déclarée                             Adresse :                                21 PLACE DE LA REPUBLIQUE
                                                                                                                                                    75003, PARIS 3
            Activité Principale Exercée (APE) :           Autres services d'information n.c.a.

                                                                                                           Activité Principale Exercée (APE) :      Autres services d'information n.c.a.




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           Base de données SIRENE, droits réservés

           Dernière mise à jour le 21/09/2021




         Qui sommes nous ?                                   Nos services                                      Liens utiles                                      Suivez-nous sur les
                                                                                                                                                                      réseaux
         infogreffe                                          Acheter un document                               Qui sommes-nous ?

         Infogreffe est le Groupement d'intérêt              Poser une surveillance                            Actualités
         Economique (GIE) des greffes des
         tribunaux de commerce français.                     Cibler des entreprises                            Foire aux questions
         Infogreffe est la plateforme de
         services en ligne destinée à                        Observatoire statistique                          Trouver un greffe
         accompagner les entreprises et
         faciliter les moments-clés de leur                  Rechercher une affaire                            Annuaire des entreprises
         développement.
                                                             Certigreffe                                       Lexique

                                                             Carte prépayée                                    Tarifs

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